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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


LEAGUE OF WOMEN VOTERS
OF FLORIDA, INC., et al.,

            Plaintiffs,

v.                                           CASE NO. 4:21cv186-MW/MAF

LAUREL M. LEE, in her official
capacity as Florida Secretary of
State, et al.,

            Defendants,

and

NATIONAL REPUBLICAN
SENATORIAL COMMITTEE and
REPUBLICAN NATIONAL
COMMITTEE,

            Intervenor-Defendants.

___________________________________/


                                     JUDGMENT

      This Court hereby DECLARES that the registration disclaimer provision

described in section 97.0575(3)(a), Florida Statutes (2021), as amended by SB 90,

violates Plaintiffs’ rights under the First Amendment of the United States

Constitution. This Court GRANTS Plaintiffs’ request for a permanent injunction.
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Neither Defendant Lee nor Defendant Moody, nor their successors in office,

deputies, officers, employees, agents, nor any person in active participation or

concert with Defendants Lee and Moody shall enforce, nor permit enforcement of,

the registration disclaimer provision described in section 97.0575(3)(a), Florida

Statutes (2021), as amended by SB 90. Defendants Lee and Moody, and their

successors in office, as well as their deputies, officers, employees, agents, and any

other person in active participation and concert with Defendants Lee and Moody

shall take all practicable measures within the scope of their official authority to

ensure compliance with the terms of this Order. In addition, this Court

DECLARES that the prohibition against “engaging in any activity with the intent

to influence or effect of influencing a voter” under § 102.031(4)(a)–(b), Florida

Statutes (2021), as amended by SB 90, violates Plaintiff Scoon and the League

Entities’ rights under the First and Fourteenth Amendments of the United States

Constitution. This Court GRANTS Plaintiffs’ request for a permanent injunction.

Neither Defendant Supervisor of Elections for Bay County, nor his successors in

office, deputies, officers, employees, agents, nor any person in active participation

or concert with Defendant Supervisor of Elections for Bay County shall enforce,

nor permit enforcement of, the prohibition against “engaging in any activity with

the intent to influence or effect of influencing a voter” as described in section

102.031(4)(a)-(b), Florida Statutes (2021), as amended by SB 90. Defendant
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Supervisor of Elections for Bay County and his successors in office, as well as his

deputies, officers, employees, agents, and any other person in active participation

and concert with Defendant Supervisor of Elections for Bay County shall take all

practicable measures within the scope of their official authority to ensure

compliance with the terms of this Order.


                                              JESSICA J LYUBLANOVITS,
                                              CLERK OF COURT


March 31, 2022                                s/ctÅ _ÉâÜvxç
DATE                                          DEPUTY CLERK
